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AO 450(GAS Rev 09/20)Judgment in a Civil Case



                           United States District Court
                                         Southern District of Georgia

     MIGUEL JACKSON, ET AL..



                                                                       JUDGMENT IN A CIVIL CASE



                                    V.                               CASE NUMBER: CV612-I13
     JOSEPH CATANZARITI, ET AL.,




        Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
 □      has rendered its verdict.



        Decision by Court.This action came before the Court. The issues have been considered and a decision has been
        rendered.



        IT IS ORDERED AND ADJUDGED

        that pursuant to the Order entered on October 2, 2019 (Doc. 313), JUDGMENT is hereby entered in
        favor of Defendant McFarlane, and against Plaintiff Kelvin Stevenson and Plaintiff Miguel Jackson,
        as to all failure to intervene and excessive force claims alleged against him, as well as Plaintiffs'
        supervisory liability claim.

        JUDGMENT is hereby entered in favor of Defendant Wells, and against Plaintiffs, as to all failure
        to intervene and excessive force claims alleged against him.

        JUDGMENT is hereby entered in favor of Defendant Milton, and against Plaintiffs, as to all failure
        to intervene and excessive force claims alleged against him.                              cf c • -
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                                                                   John E. Tripfef^JQlgtE-qfC^Airt
 Dafe                                                              Clerk




                                                                   (By) Depaty Clerk
     Case 6:12-cv-00113-JRH-BWC Document 508 Filed 08/04/23 Page 2 of 2



JUDGMENT is hereby entered In favor of Defendant Mitchell, and against Plaintiffs, as to all failure to
intervene and excessive force claims alleged against him.

JUDGMENT is hereby entered in favor of Defendant Pittman, and against Plaintiffs, as to Plaintiffs' in-
dorm failure to intervene and excessive force claims and Plaintiffs' claims for failure to intervene and
excessive force in the prison's infirmary.

JUDGMENT is hereby entered in favor of Defendant Bennett, and against Plaintiff Stevenson, as to his in-
dorm excessive force claim.

JUDGMENT is hereby entered in favor of Defendant Bennett, and against Plaintiff Jackson, as to his in-
dorm excessive force and failure to intervene claims.

JUDGMENT is hereby entered in favor of Defendant Bennett, and against Plaintiffs, as to their claims for
excessive force and failure to intervene during their escort outside of D-2 and during their time in the
prison's infirmary.

JUDGMENT is hereby entered in favor of Defendant Bennett, and against Plaintiffs, as to their claims for
excessive force and failure to intervene during their escort outside of D-2 and during their time in the
prison's infirmary.
